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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


JASON SCHAUMLEFFEL,

                      Plaintiff,
                                                          Case No. 2:17-cv-463
-v-                                                       JUDGE GEORGE C. SMITH
                                                          Magistrate Judge Jolson

MUSKINGUM UNIVERSITY, et al.,

                      Defendants.


                                            ORDER

       Plaintiff Jason Schaumleffel moved to dismiss Defendant/Counterclaim Plaintiff Macey

Zambori’s Counterclaim Complaint against him on April 30, 2018. (Doc. 52). Plaintiff also

filed an Answer to the Counterclaim on May 21, 2018. (Doc. 55). Plaintiff then filed a Notice

with the Court on June 5, 2018, stating that he was withdrawing his Motion to Dismiss

Defendant Zambori’s Counterclaim. (Doc. 56). Plaintiff has filed an Answer, rending the

Motion to Dismiss moot.

       Therefore, Plaintiff’s Motion to Dismiss is MOOT. The Clerk shall remove Document

52 from the Court’s pending motions list.

              IT IS SO ORDERED.


                                                   /s/ George C. Smith
                                                   GEORGE C. SMITH, JUDGE
                                                   UNITED STATES DISTRICT COURT
